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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                      8:08CR226
                              )
          v.                  )
                              )
BRUCE BALDWIN,                )                      ORDER
                              )
               Defendant.     )
______________________________)


          This matter is before the Court on defendant’s motion

to restrict (Filing No. 94).       The Court finds the motion should

be granted.   Accordingly,

          IT IS ORDERED that said motion is granted.              The motion

defendant files shall remain sealed pending further order of the

Court.

          DATED this 20th day of September, 2013.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   ____________________________
                                   LYLE E. STROM, Senior Judge
                                   United States District Court
